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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,
                                                          Civil Action No. 3:17-cv-00072-NKM
                                   Plaintiffs,
    v.                                                         JURY TRIAL DEMANDED
    JASON KESSLER, et al.,

                                   Defendants.



           MOTION FOR PRO HAC VICE ADMISSION OF KHARY J. ANDERSON

          Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the Western

   District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court, and counsel

   of record in the instant proceeding hereby moves the Court for the admission of Khary J. Anderson,

   Esquire to appear pro hac vice on behalf of the Plaintiffs in the above captioned case and in support

   thereof states as follows:

          1.      Mr. Anderson is an associate with the law firm of Cooley LLP, 1299 Pennsylvania

   Avenue, N.W., Suite 700, Washington, DC 20004 (Tel: 202.842.7800, Fax: 202.842.7899, Email:

   kjanderson@cooley.com

          2.      Mr. Anderson is qualified and licensed to practice law and is a bar member in good

   standing in the District of Columbia (Bar ID No. 1671197 – since December 23, 2019). He is also

   a bar member in good standing with the United States District Court for the District of Columbia

   since April 5, 2021.
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          3.      Mr. Anderson agrees to submit and comply with the appropriate rules of procedure

   as required in the case for which he is applying to appear pro hac vice as well as the rules and

   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

          WHEREFORE, for the reasons stated above, it is requested that this Court grant this motion

   and permit Khary J. Anderson, Esq. to appear pro hac vice on behalf of Plaintiffs in the above

   captioned case, and to appear at hearings or trials in the absence of an associated member of the

   bar of this Court.



    Dated: October 1, 2021                              Respectfully submitted,

                                                        /s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
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                                                        Fax: (703) 456-8100
                                                        rcahill@cooley.com

                                                        Counsel for Plaintiffs




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                                        CERTIFICATE OF SERVICE

        I hereby certify that on October 1, 2021, I filed the foregoing with the Clerk of Court through the
   CM/ECF system, which will send a notice of electronic filing to:

    Justin Saunders Gravatt                               James E. Kolenich
    David L. Hauck                                        Kolenich Law Office
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    Counsel for Defendants National Socialist Movement,
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    Matthew Parrott and Traditionalist Worker Party       Traditionalist Worker Party

    Bryan Jones
    106 W. South St., Suite 211
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    bryan@bjoneslegal.com

    Counsel for Defendants Michael Hill,
    Michael Tubbs, and League of the South

           I further certify that on October 1, 2021, I also served the foregoing upon following non-ECF pro
   se defendants and participants, via electronic mail or First Class U.S. Mail, as follows:

    Richard Spencer                                       Elliott Kline
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                                                          /s/ Robert T. Cahill
                                                          Robert T. Cahill
